      Case 3:12-cr-00030-MCR        Document 71      Filed 06/28/12    Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                     Case No. 3:12cr30/MCR

ELIZABETH SYKES

                                    /

                         ACCEPTANCE OF PLEA OF GUILTY
      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, and subject to this Court’s
consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of guilty of
the Defendant, ELIZABETH SYKES, to Counts I, II and III of the Indictment is hereby
ACCEPTED. All parties shall appear before this Court for sentencing as directed.
      DONE and ORDERED this 28th day of June, 2012.




                                          s/   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         CHIEF UNITED STATES DISTRICT JUDGE
